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Beneficiary’s Response to NOID

I, Rachael Onyeweliehi Lucky, being the Beneficiary in this case do hereby respond to the issues

raised in the Notice of Intent to Deny as follows:

Responses to bullet point! and 2 on page 2; I did not attend my husband's funeral nor plan the
funeral because my husband’s sister insisted that she doesn’t want me to come for the funeral
and that if do come, she will cause a scene and disrupt the funeral since my husband did not
introduce me to the family. It was her sister that was contacted after the incidence that led to his
death as her number was on his driver’s license emergency which was issued to him on 01-03-
2020 which was before we got married. I respected my husband by making sure his funeral was

peaceful.

My husband left our matrimonial home after a heated argument over his use of drug at home in
the presence of our little children about nine days before he died. That was the third time he
stormed out of the house after we argued over his use of drug at home. When he leaves the house
he turns off his phone so that I cannot reach him, and he wiil not call me. On two previous times
he left the house, he did not come back home and will go to work from there and call about
tweeks to tell me he is at work as well as apologize. On this third occasion, he turned off his
phone again and I couldn’t reach him only to find out after about 10 days later that he died as a

result of drug (Methamphetamine) overdose.

Response to bullet point 3 and 4 on page 2; the reason my husband’s death certificate has "Never
Married" as his marital status and my name not included in the death certificate was because her
sister was the person who reported the death and for reasons best known to her did not give

accurate information to the registrar.

I have however, filed with the supreme court for the order of the correction/amendment of the
death certificate and the hearing date has been set for March 29, 2022. Attached are copies my

court filings including hearing schedule.

Response to bullet point 5 on page 2; The birth certificate of my child born in 2020 is attached to
this letter.

Response to bullet point 6 on page 2, Rental payment of our apartment are usually made by
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money order as against check so as to guide against overdraft to our account.

The reason [ submitted 2020 lease and not 2021 is because our lease was renewed in August

2021 after he passed.

Response to bullet point 7 on page 2; Attached are some Georgia Power Utility bill paid.

Bullet point 8 on page 2; statement of Account from our Wells Fargo Bank is attached to the
letter.

Bullet point 9 on page 2; We had limited family pictures or events attended because my husband
was a CDL Driver and was always out of state before the covid started and all social gathering

was stopped due to lockdown,

Bullet point 10 on page 2; Our limited Joint account was as a result of the fact that I did not have
social security number and my work authorization document was approved on June 24, 2021,
about two months after my husband’s demise.

Bullet point | on page 3; Our relationship was more of love at first sight. We connected the first
time we met and shortness of time me having a child was never an issue between my late
husband and me.

Bullet point 2 on page 3; Shortly after we got married, there was COVID shutdown, and all
schools were closed only to open virtually in early 2021. Besides my late husband was a Trucker
and on the road most of the time.

Today the 22" day of February 2022

Rachael Lucky

Before me

Notary Public
